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EXHIBIT D

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September 25, 2009
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isabel |Vi Humphrey

Candess J. Hunter

Ftandy Vavitz

Hunter. Hurnphrey & Yavitz, PLC
2633 E indian Schoo| Road. #440
i:’hoeni)<l Arizona 85016

Re: lntersactr'ons, Inc. and Net Enforcers, Inc. v. Joseph C. and Jennr' M. Loomis
Dear Counsel:

We have reviewed your September ‘l?, 2009 emai| wherein you assert that Joe Loomis {“Loomis")
possesses a taptop owned by NE| and that NE| possesses a |aptop owned by Loomis Specifically, you
contend that after Loomis was terminated in November 2008, he returned certain NE| property at NEl's
request including one of two Sony Vaio iaptops he used for work at NE|. You indicated that Loomis
inadvertently returned the laptop he personally owned instead of the laptop NE| owned We have
analyzed the information you provided and believe that the Sony Vaio laptop model #VGN-TZSQO in
Loomis' possession is NEl's property and the Sony Vaio laptop model #VGN-TZZQO in NEl's possession
is LOOmis'_

Please advise as to whether the NE| Sony Vaio laptop model #VGN-TZ390 contains one of the damaged
hard drives referenced in Loomis' response to Document Request No 19 |f so. please advise as to
when the hard drive was damaged the nature of the damage how it was damaged and what attempts if
any` he made to fix the hard drive and when The Sony Vaio |aptop model #VGN-TZZQO contains
company data According|y, NE| will remove and preserve a copy of all data on the Sony Vaio laptop
model #VGN-TZZQO before exchanging |aptops in case it is needed for this litigation

You also contend that Loomis believes he owns the computer tower he took from NE|`s offices and that
he technically did not "stea|" the company data contained on the tower Specifica!!y, you contend that he
did not steal the data because NE| allowed him to use his own computer and should have ensured that
the data was saved on a company-owned computer This is factually incorrect and nonsensicall Any
purported failure on NEl`s part to foresee and protect itself from its CEO's unauthorized removal of
company data from NEl's offices and refusal to return such data has no bearing at all on whether Loomis'
actions constitute theft indeedl NE| was in the process of ensuring that the company data was
preserved when Loomis took it from the office without NEl's consent and just as a computer technician
was preparing to make a copy of the data Notwithstanding. you also contend that the data was not
stolen because it was saved on the company server and because Loomis provided NE| with a USB drive
containing a copy of ail company files stored on the tower on the last day he was at NEl's offices
Loomis' purported assurance that he saved afl of the company data on the server and on a USB drive is
not at all reassuring or conclusive in light of his history of theft and destruction of NEl's company data
According|y, we renew our request in Document Request No‘ 19 that Loomis provide a copy of the hard
drive(s) of each computer owned, leased or used by him during and/or after his employment by NEll
including but not limited to the Tower.

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DLA PIPER

Thomas M. Dunlap
September 25, 2009
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Further‘ please advise as to whether the computer tower Loomis possesses contains one of the damaged
hard drives referenced in Loomis' response to Document Request No. 19 |f so, please advise as to
when the hard drive(s) was damaged the nature of the damage how it was damagedl and what
attempts if any. he made to fix the hard drive.

ln the interest of cooperation we propose the following \Ne will send a computer technician to your office
next week to exchange the Sony Vaio laptop model #VGN-TZZQO for the Sony Vaio laptop model #VGN-
TZSQO_ Loomis will provide the technician with the computer tower he took from NEl's offices and any
other computer owned. leased or used by him during and!or after his employment by NE| which is in his
possession custody or control The technician will create a forensic image of the hard drives on each
machine Loomis provides at your offices that day. Please advise if this is acceptable and what date next
week works best for your

Fina|ly. you indicate that you possess copies of DVDs containing company fites from a home computer of
Loomis’ that you received from Loomis and Rodney Page. P|ease advise as to when you will be
producing those DVDs as well as documents in response to lntersections' document requests

Very truly yours,

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cc; Thomas M. Dunlap

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